    Case 3:25-cv-00330-OAW      Document 8     Filed 03/05/25   Page 1 of 11




                        UNITED STATES DISTRICT COURT

                                   FOR THE
                           DISTRICT OF CONNECTICUT


        COMMERCIAL FUNDING LLC            )
                   V.                             Case No:
 STEPHEN CAMPBELL. MCCULLOUGH             )


                        EXHIBITS ON NOTICE OF REMOVAL

                                  [Attached]




DATE:       March 05, 2025
                                                                           I
                                                                 C. McC111llough
                                                                         \

                                                         Defendant
                  Case 3:25-cv-00330-OAW                                Document 8               Filed 03/05/25             Page 2 of 11



  MOTION FOR JUDGMENT FOR                                                                                                 STATE OF CONNECTICUT
  POSSESSION FOR FAILURE TO PLEAD                                                                                            SUPERIOR C.OURT
  JD-HM-10 Rev. 3-20                                                                                                                 www.jud.ct.qov
  C.G.S. § 47a-26a,
  P.B. § 17-30
                                                                                                                                           COURT USE ONLY
                                                                                                                                                   MFDPJPS

  Instructions to Plaintiff (Landlord)
  1. File this motion with the clerk.                                                                                                       lllllll!l lll~lllllllllillllllllllllllllll
  2. Mail or deliver a copy of this motion to all appearing defendants or their altorney(s), if applicable.

 D .Judicial District                                                                                     Docket number
 ~ Housing Session                  At:     Hartford                                                      HSG HFH-CV24-6030117-S
 Address of court (Number, street, and /own)

  80 Washington Street, Hartford CT 06106
  Name of case

    COMMERCIAL FUNDING, LLC v. STEPHEN CAMPBELL MCCULLOUGH


  Motion
 The defendant(s) listed below has not filed a pleading within the required time period. If the defendant(s) does not
 file a pleading within three (3) days after this motion is filed with the clerk, the plaintiff(s) asks that judgment for
 possession of the premises be entered for the plaintiff(s ).
 Narnets) of applicable defendant(s)


                                                                           Print or lype name of person signing                          Date signed

                                                                          -Houston Putnam Lowry                                           01/27/2025



 C'ertification                                                    )
 I certify that a copy of this oe1:1fflentwasor will immediately be mailed or delivered electronically or non-electronically or in
 hand on        01/27/2025    (date) to all attorneys and self-represented parties of record, and that written consent for electronic
 delivery was received from all attorneys and self-represented parties receiving electronic delivery.
 (If necessary, attach additional sheets with names, addresses and methods of delivery.)
 Name and address of first attorney or party                                                                                       O Hand delivered [R) Mailed
 STEPHEN CAMPBELL MCCULLOUGH, 140 HAYES ROAD, ROCKY HILL, CT 06067                                                                 [R) Electronically delivered
 Name and address of second attorney or party                                                                                      O Hand delivered O Mailed
 steviemcc1@yahoo.com                                                                                                              0 Electronically delivered
 Name and address of third attorney or party                                                                                       D Hand delivered O Mailed
                                                                                                                                   0 Electronically delivered
 Name and address of fou~orney-or party                                                                                            O Hand delivered O Mailed

   -· ----------
 S gned (Plainliff/Plainliff's.at/onfey)

 ►
                                                                          Print or type name of person signing
                                                                          -Houston Putnam· Lowry
                                                                                                                                   O Electronically delivered
                                                                                                                                         Date signed

                                                                                                                                         01/27/2025
· Mailing addtess-(flJllillb.er~reer,-tow,f. stet« and zip code)- . ,                                                                    Telephone number

 Ford & Paulekas~ LLP, 280 Trumbull Street-S~ite 2200, Hartford, CT 06103                                                                (860) 808-4213

             (                  ----------
                                                                         ADA NOTICE
                                               The Judicial Branch of the State of Connecticut complies with the
                                               Americans with Disabilities Act (ADA). lfyou need a reasonable
                                               accommodation in accordance with the ADA, contact a court clerk
                                               or an ADA contact person listed at www.Jud.ct.gov/ADA.
       Case 3:25-cv-00330-OAW              Document 8      Filed 03/05/25      Page 3 of 11




                                                                                      ORDER      445552
DOCKET NO: HFHCV246030117S                                SUPERIOR COURT

COMMERCIAL FUN DING, LLC                                  HOUSING SESSION
  V.                                                       AT HARTFORD
MCCULLOUGH, STEPHEN CAMPBELL Et
Al                                                        1/30/2025



                                                  ORDER


ORDER REGARDING:
01/27/2025 160.00 MOTION FOR JUDGMENT OF DEFAULT FOR FAILURE TO PLEAD AND
POSSESSION SUMMARY PROCESS

The foregoing, having been considered by the Court, is hereby:

ORDER:GRANTED
Disposition: JP2PVTM - JUDGMENT OF POSSESSION - WHERE ONE ORIGINALLY HAD THE
RIGHT OR PRIVILEGE rs NOW TERMINATED

Motion for default for failure to plead is granted.

***** Notice of Judgment - Summary Process (Eviction) *****
Name ofDefendant(s)/Tenant(s):STEPHEN CAMPBELL MCCULLOUGH
Date of Judgment: 1/30/25
JUDGMENT FOR PLAINTIFF BASED UPON ORIGINAL RIGHT OR PRIVILEGE TO OCCUPY
HAS TERMINATED

***** Notice to Defendant(s)/Tenant(s) *****

The Plaintiff(Landlord) recovered Judgment against you for immediate possession of the premises
named in the complaint and occupied by you. You are therefore given the following notice:

***** PLEASE READ COMPLETELY THE FOLLOWING INFORMATION *****

You may be evicted from the premises named in the complaint and occupied by you after 5 days from
the ***date of judgment*** shown above. (Any intervening Sunday or legal holiday is not included in
counting the 5 day period.) You may ask the court to delay your eviction up to 6 months from the date of
Judgment by completing and filing at the Clerk's office an Application for Stay of Execution. This
application must be filed within 5 days from the ***date of Judgment*** shown above. The application
form is available at the Clerk's office at the above address.

***** NOTICE TO ALL OCCUPANT(S) NOT NAMED IN JUDGMENT*****

If you have not been named as a patty to this summary process action, and you claim to have a right to
continue to occupy the premises, you should promptly complete and file with the Clerk's office a claim
of exemption from the Judgment. The claim of exemption may be obtained from the Clerk at the address
listed above.




HFHCV246030117S         1/30/2025                                                            Page 1 of 2
        Case 3:25-cv-00330-OAW                   Document 8           Filed 03/05/25           Page 4 of 11




                                                              445552

                                                              Judge: CRISTINA M LOPEZ
This document may be signed or verified electronically and has the same validity and status as a document with a physical
(pen-to-paper) signature. For more information, see Section I.E. of the State of Connecticut Superior Court £-Services
Procedures and Technical Standards (https://jud.ct.gov/extemal/super/E-Services/e-standards.pdf), section 5 l-193c of the
Connecticut General Statutes and Connecticut Practice Book Section 4-4.




HFHCV246030117S            1/30/2025                                                                          Page 2 of 2
        Case 3:25-cv-00330-OAW                            Document 8     Filed 03/05/25            Page 5 of 11




 NO TIC E O F JU D G M E N T                             STATE OF CONNECTICUT
 SUM M A RY PR O C E S S (EV IC TIO N )
                                                            SUPERIOR COURT
                                                          OFFICE OF THE CLERK
                                                          ·   www.lud.ct.qov
JD -H M -1 R ev. 10/19 (Edison)
C.G .S . §§ 47a-26h(b), 47a-35, 47a-36, 47a-37



                                                                                         NOTICE TO ALL OCCUPANT(S)
                                                                                          NOT NAMED IN JUDGMENT
                  HFHCV246030117S
                                                                                     If you have not been named as a
                  OFFICE COPY
                                                                                     defendant in this case, but you
                                                                                     believe you have a right to
                                                                                     continue to occupy the premises,
                                                                                     you may complete a Claim of
                                                                                     Exemption (form JD-HM-3), and
                                                                                     file it with the Clerk. You may get
                                                                                     this form at the clerk's office listed
                                                                                     above or online at www .jud.ct.gov.

                -+Fold


 Superior Court                                                                    Docket Number                       )
 Housing Session at Hartford                                                       HFHCV246030117S
 Clerk's Office Address                                                            Date of Judgment
 80 Washington St Hartford CT 06106 (860)756-7920                                  January 30, 2025
 Name of Case
 COMMERCIAL FUNDING, LLC V. MCCULLOUGH, STEPHEN CAMPBELL


                                          Notice to Defendant(s)/Tenant(s)(Renters(s))
The Plaintiff (landlord) won a judgment against you for possession of the premises named in the complaint and
occupied by you. Therefore, you are given the following notice:
Please read all the information below:
You may be evicted from the premises named in the complaint and occupied by you after 5 days from the Date of
Judgment shown above. (Sundays and legal holidays are not Included In this 5 day period.) You may ask the court
to delay your eviction for up to 6 months from the Date of Judgment shown above by completing an Application
For A Stay or Execution (form JD-HM-21 ), and filing it with the Clerk. This application must be flied within 5 days
from the Date of Judgment shown above. The application is available at the clerk's office at the address above or
at www .jud.ct.gov.                      '


     160.00 MOTION FOR JUDGMENT OF DEFAULT FOR FAILURE TO PLEAD AND
     POSSESSION SUMMARY PROCESS
     The foregoing, having been considered by the Court, is hereby:
     ORDER: GRANTED
     Disposition: JP2PVTM - JUDGMENT OF POSSESSION - WHERE ONE ORIGINALLY HAD THE RIGHT OR
     PRIVILEGE IS NOW TERMINATED
     Motion for default for failure to plead is granted.
     ***** Notice of Judgment - Summary Process (Eviction) *****
     Name of Defendant(s)/Tenant(s):STEPHEN CAMPBELL MCCULLOUGH
    Date of Judgment:1/30/25
    JUDGMENT FOR PLAINTIFF BASED UPON ORIGINAL RIGHT OR PRIVILEGE TO OCCUPY HAS
    TERMINATED

By the Court                                     Clerk                             Date of Order
CRISTINA M LOPEZ                                 Suzana Zenke                      January 30, 2025
Appearances
                                                                                          JD-HM-1 HFHCV246030117S 1/30/2025
    Case 3:25-cv-00330-OAW         Document 8     Filed 03/05/25      Page 6 of 11




Atty: FORD & PAULEKAS LLP, 280 TRUMBULL STREEt HARTFORD CT 06103
Self-Rep: STEPHEN CAMPBELL MCCULLOUGH 140 HAYES RD, ROCKY HILL CT 06067




                                                              JD-HM-1 HFHCV246030117S 1/30/2025
                    Case 3:25-cv-00330-OAW                           Document 8             Filed 03/05/25            Page 7 of 11


 WITHDRAWAL                                                                                                                   STATE OF CONNECTICUT
 JD-CV-41 Rev. 1-18                                                ADA NOTICE                                                       SUPERIOR COURT
                                                    The Judicial Branch of the State of                                                 www.jud.ct.gov
                                                    Connecticut complies with the Americans with
                                                    Disabilities Act (ADA). If you need a                           Docket number
                                                    reasonable accommodation in accordance
                                                    with the ADA, contact a court clerk or an ADA                    HFH-CV-XX-XXXXXXX-S
                                                    contact person listed at www.jud.ct.gov/ADA.                    Return date (For Civil and Housing cases only)
 Instructions:                                                                                                      Jun-17-2024
 1. Complete this form by selecting any applicable withdrawal categories below.                                     Answer date (For Small Claims cases only)
 2. File with the clerk.
 Name of case (First-named Plaintiff vs. First-named Defendant)
   COMMERCIAL FUNDING, LLC v. MCCULLOUGH, STEPHEN CAMPBELL Et Al
□.
     Judicial
     District
              lvl Hous_ing
              ~ Session
                           Address ot court (Number, street, town and zip code)
                           80 WASHINGTON ST HARTFORD, CT 06106

 Dispositive (Complete) Withdrawal
 (Do not check the following two boxes if any intervening complaints, cross complaints, counterclaims, or third party complaints remain pending in this case.
 See below for partial withdrawal of action.)
 (WDACT)          0 The Plaintiffs action is WITHDRAWN AS TO ALL DEFENDANTS without costs to any party.
 (WOARD)          0 A judgment has been rendered against the following Defendant(s):
                       and the Plaintiffs action is WITHDRAWN AS TO ALL REMAINING DEFENDANTS without costs.

 Partial Withdrawal
The following pleading(s), motion(s) or other paper(s) in the case named above is or are withdrawn:
(WDCOMP)  0      Complaint                      0         (WAPPCOM)      Apportionment Complaint
(WOC)     0      Counterclaim                   D         (WDINTCO)      Intervening Complaint
(WDCC)    0      Cross Complaint (cross claim)  D         (WDTHPC)       Third Party Complainf
(WDCOUNT) D Counts of the complaint: ---------------------------------

(WOMP)            D Plaintiff(s): -------------------'-------------------
 (WOMD)           0 Complaint against defendant(s):
                       ______________________________________ only without costs
(WOM)             [El Motion: 126.00 Motion for Order - Use & Occupancy
                  O Other:

Signature of Filer(s)
                                                       Attorney or Self-
Party P-01 COMMERCIAL FUNDING, LLC                     represented party; By   FORD & PAULEKAS LLP
                                                       Attorney or Self-
~rty                        ;~
       --------------------      --------------------- represented party
Pa rty                      ;By                        Attorney or Self-
                                 --------------------- represented party
Party                       ; By                       Attorney or Self-
                                                       represented party
Name &                HOUSTON PUTNAM LOWRY
Address
of Filer(s):
                 ► 280 Trumbull Street, Suite 2200, Hartford, CT 06103
Certification
I certify that a copy of this document was or will immediately be mailed or delivered electronically or non-electronically on
(date)       Feb-26-2025        to all attorneys and self-represented parties of record and that written consent for electronic delivery was
received from all attorneys and self-represented parties of record who received or will immediately be receiving electronic delivery.
Name and address of each party and attorney that copy was or will be mailed or delivered to"                                  For Court Use Only

STEPHEN CAMPBELL MCCULLOUGH (Self Represented) -140 HAYES RD ROCKY HILL, CT 06067


"lf necessary, attach additional sheet or sheets with name and address which the copy was or will be mailed or delivered to.
Signed (Signature of filer)                                 I
                                                           Print or type name of person signing     Date signed

►     305070
Mailing address (Number, street, town. state and zip code)
                                                            HOUSTON PUTNAM LOWRY                     Feb-26-2025
                                                                                                    Telephone number
280 TRUMBULL STREET SUITE 2200 HARTFORD, CT 06103                                                     860-808-4213
                      Case 3:25-cv-00330-OAW                                Document 8                   Filed 03/05/25                   Page 8 of 11



    CASEFLOW REQUEST                                             For information on ADA                                           STATE OF CONNECTICUT
  JD-CV-116          Rev. 9-23                                   accommodations, contact the                                            JUDICIAL BRANCH
                                                                 Centralized ADA Office at 860-706-5310                                 SUPERIOR COURT
                                                                 or go to: l!LW~ U!QV/ADAI                                                   www.jud.ct.gov

  Instructions
                                                                                                                                                                COURT USE ONLY
  Select the appropriate type of request being made, provide the additional information requested, and the reason for
  your request. File at least 3 days before the scheduled date. If you need to request a continuance of a scheduled                                                    CSFLREQ
  court date, do not use this form. Use form JD-CV-21, Motion for Continuance, for all continuance requests.
  Note: If the request if granted, the court will schedule the event for the requested date, if the! date is available.                                         11111111111111!111!1!111111111111111111111
        If that date is not available, the court will schedule the event for the next available date.
  Name of case (Plaintiff v. Defendant)                                                                                              Docket number
    Commercial Funding, LLC v, Stephen Campbell McCullough, et al                                                                     HFH-CV-XX-XXXXXXX-S
 □        Judicial
          District
                         r.;, Housing
                        -~ Session
                                           Address of court (Number, street, town and zip code)

                                           80 Washington Street, Hartford, CT 06106
  Name of Judge who scheduled the event (if known)                                           Date of request                         Date of scheduled event /if applicable)
                                                                                              02/26/2025                              03/10/2025

  Requested Action
  I am requesting: (Select box(es) that apply and give reason(s) for request below)
 D Status Conference on or about: (date)
 D Client/adjuster to be available by phone for (event)                                                                         scheduled on (date)
 D Pretrial on or about: (date)
 D Party to be excused from (event)                                                                                            scheduled on (date)

 ~ Other:              Mark off hearinq for Motion for Use and Occupancy scheduled for 3/10125 at 2:00 p.m.

 Reason(s) for request:
  The Plaintiff has withdrawn motion #126, therefore the hearing scheduled for March 10, 2025 at 2:00 p.m. is no longer necessary.




 I have informed all counsel of record and self-represented parties of this request, and agree to notify them of the court's
 ruling. All Counsel and Self-represented Parties:                                            -
          D Consent                     D Do not consent to the action requested above                         -Nci"~
                                                                                        Name of attorney and juris number or self-represented party (Prinl or type)
                                                                                        Houston Putnam Lowry, Esq. 305070

                                                                 [RI Attorney for Plaintiff                 D Attorney for Defendant
                                                                                              E-mail address
 Ford & Paulekas, LLP                                                                             ptl@hplowry.com
Address                                                                                                                                        Telephone number (wil/J area code)

 280 Trumubll Street, Floor 22, Hartford, CT 06103                                                                                             860-808-4213

Certification
I certify that a copy of this document was or will immediately be mailed or delivered electronically or non-electronically on
(date)      02/2612025       to all attorneys and self-represented parties of record and that written consent for electronic delivery was
received from all attorneys and self-represented parties of record who received or will immediately be receiving electronic delivery.
Name and address or each party and attorney that copy was or will be mailed or delivered to•                                               ·

 Stephen Campbell McCullough, 140 Hayes Road, Rocky Hill, CT 06067 - also via email at steviemcc1@yahoo.com



'If neces~,.-altaCtniodili          al sheet or sheets with name and address which the copy was or will be mailed or delivered to.
S.i.gne     (Signature of file:)                                                Print or type name of person signing                                         Date signed
                        - ..=---·~--·-
►                                                                                Houston Putnam Lowry                                                        0212612025
         Case 3:25-cv-00330-OAW                    Document 8           Filed 03/05/25           Page 9 of 11




                                                                                                        ORD ER        445552
DOCKE T NO: HFHCV246030117S                                           SUPERIOR COURT

COMMERCIAL FUN DIN G, LLC                                             HOUSING SESSION
 V.                                                                    AT HARTFORD
MCCULLOUGH, STEPHEN CAMPBELL Et
Al                                                                    2/26/2025



                                                          ORDER


ORDER REGARDING:
02/26/2025 182.00 CASEFLOW REQUEST (JD-CV-116)

The foregoing, having been considered by the Court, is hereby:

ORDER: DENIED

Per Connecticut General Statutes Section 47a-35a, a use an occupancy hearing shall be scheduled by the
court when an appeal is taken by a defendant occupying a dwelling unit.

Judicial Notice (JDNO) was sent regarding this order.

                                                               445552

                                                               Judge: CRISTINA M LOPEZ
                                                               Processed by: Mark Piech
This document may be signed or verified electronically and has the same validity and status as a document with a physical
(pen-to-paper) signature. For more information, see Section I.E. of the State of Connecticut Superior Court £-Services
Procedures and Technical Standards (https://jud.ct.gov/external/super/E-Services/e-standards.pdf), section 5 l-I 93c of the
Connecticut General Statutes and Connecticut Practice Book Section 4-4.




HFHCV246030117S             2/26/2025                                                                            Page 1 of 1
                         Case 3:25-cv-00330-OAW                                   Document 8                       Filed 03/05/25                         Page 10 of 11

                               of Con~ctlcut Judicial Branch                                                                           A
                                     ell~~~/Supreme E-Filing                                                                           'VJ
__________ • Logged-In User: Stephen C McCullough (steviemcc1)                                                                                                      Email: steviemcc1@yahoo.com Logout
E-Filing Home
                                                                      E-File an Appearance                                                                   y


                                Appeal Case Information
E-Servicos lnbox ( 19)         CAC 48503          COMMERCIAL FUNDING, LLC v. STEPHEN CAMPBELL MCCULLOUGH ET AL.         Status: Stay
                                    Date Filed:            02/24/2025                         Case Manager : L. JEANNE DULLEA
                                    Appeal By:                      Defendant                                                Response to Docket
Self Help                                                                                                                    Due Date:
                                    Argued Date:                                                                             Disposition Method:
Logout
                                    Submitted on Briefs                                                                      Disposition Date:
                                    Date:

E-File a New                                                                                                                 Cite:
 Appellate Matter
                                    Panel:                                                                                   Petition(s) For
                                                                                                                             Certification:
E-File a Petition
 for Certification to Appeal   cross Appcal/Amondod Appeal

E-Filo a Motion or             Trial Court Case Information
 Application Before
  E-Filing an Appeal                Docket Number:       HFHCV246030117S

                                    Judgment For:       Plaintiff                                          Court:                     HOUSING SESSION AT HARTFORD
List My Cases                       Trial Judge(s):     HON. CRISTINAM LOPEZ                               Judgment Date: 02/07/2025

My E-Filcd Items                                                                                           Case Type:                 HOUSING - SUMMARY PROCESS
                                                                                                           Other Trial                HON. WALTER M. SPADER , JR.
Case Search                                                                                                Judge(s):                  HON. THAMAR ESPERANCE-SMITH
 By Docket Number-             Party/Attorney or Snlf-Hcprnscntnd Information
                                                 1
 By Case Name-                 Party Name                                                     Trial Court Party Class                       Case Affiliation            Appeal Party Class
                               Partytios] for; AC 48503
E-Servicns Horne                STEPHEN C MCCULLOUGH                                                            Defendant                              Defendant                      Appellant
                                      Self Rep: STEPHEN C MCCULLOUGH
                                JOHN DOE (Removed on 06/20/2024)                                                Defendant                              Defendant                          Appellee
                                JANE DOE (Removed on 06/20/2024)                                                Defendant                              Defendant                          Appellee
                                COMMERCIAL FUNDING, LLC                                                          Plaintiff                              Plaintiff                         Appellee
                                    Juris: 100342 FORD & PAULEKAS LLP

                               Transcripts
                               and                                                                                                                                        Exhibits Received By Court:
                               Exhibits
                                                                                                 Transcripts                 Estimated         Delivered To                                  Delivered To
                               Party                                                                                                                                    Pages
                                                                                                   Ordered              Delivery Date              Party                                         Court
                               COMMERCIAL FUNDING, LLC                                             02/26/2025             04/04/2025


                               Preliminary Papers
                                                                   Designation
                                                                      of the
                                                       Prollmlnary                      Certificate re                                                                                       Certificate of
                                                                    Proposed                                    Docketing              PAC            Constitutionality         Sealing
                                    Party Name        Statement of                       Transcript                                                                                           Interested
                                                                   Contents of                                  Statement            Statement            Notice                 Notice
                                                       the Issues   the Clerk
                                                                                         Received                                                                                               Entities
                                                                    Appendix
                               COMMERCIAL
                                                                                             02/26/2025
                               FUNDING, LLC


                               B1iefs

                               Case Activity
                               Activity                              Number     Date tiled Initiated By                               Doscrlptlcn                       Action Action Dato Notice Dato
                               eAPPEAL                               AC 48503   02/24/2025                                            Direct Appeal                     Filed
                               §)
                               PRELIMINARY PAPER/APPEAL                         02/24/2025                                            Correspondence from Court         Flied
                               DOCUMENTS
                               §)
                               e MOTION                              AC 243609 02/25/2025 COMMERCIAL FUNDING, LLC                     Motion to Dismiss                Filed
                               §)                                                                                                      Response Date: 3/7/2025

                               e PRELIMINARY PAPER/APPEAL                       02/26/2025                                            Appeal Transcript Order          Flied
                               DOCUMENTS                                                                                              Acknowledgement from Court
                               §)                                                                                                     Reporter


                               e PRELIMINARY PAPER/APPEAL                       03/04/2025                                            Notice of Removal                Filed
                               DOCUMENTS
                               §)
.....         Case 3:25-cv-00330-OAW         Document 8       Filed 03/05/25     Page 11 of 11




                                              CERTIFICATION

        I hereby certify that plaintiff has sent a copy of the foregoing by first-class mail to

        plaintiff's attorney at:

        Houston Putnam Lowry
        Ford & Paulekas LLP
        280 Trumbull St
        Hartford, CT 06103


        DATE:          March 05, 2025
